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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                             CASE NO. 1:88-cr-01026-MP-AK

DANIEL WRIGHT,

      Defendant.
___________________________/

                                           ORDER

        This matter is before the Court on Doc. 3446, Report and Recommendation as to Daniel

Wright, recommending that his motion to vacate be denied. The time for filing objections has

passed, and none have been filed. The Court agrees with the Magistrate Judge that Mr. Wright

has offered no evidence supporting his claim of attorney conflict based on Attorney Steven

Scheck having represented the United States Attorney's sister previously. Also, the Court agrees

that defendant has not shown any improper conduct by the prosecuting attorney with regard to

whether the prosecutor had a duty to inform Mr. Wright of the Apprendi decision. Accordingly,

it is hereby

        ORDERED AND ADJUDGED:

        1.     The Report and Recommendation of the Magistrate Judge is adopted and
               incorporated herein.

        2.     This action is DISMISSED, and the clerk is directed to close the file.

        DONE AND ORDERED this 29th day of September, 2006


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
